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EXHIBIT D
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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
~CHARNAE JONES
Plaintiff, CIVIL ACTION NO.
, 1:22-CV-05134-MLB

PROVISTA DIAGNOSTICS, INC.,
TODOS MEDICAL, LTD

JURY TRIAL DEMANDED
Defendants.

RESPONSES TO INTERROGATORIES FROM JUDGMENT CREDIT
DEBTOR TO JUDGMENT DEBTOR

PLEASE TAKE NOTICE that Defendants, Provista Diagnostics, Inc., and
Todas Medical, LTD., (“Defendants”), hereby answers the Plaintiff’s First Set of
Interrogatories (“Interrogatories”) as stated below.

Dated this 10th day of February, 2025.

Respectfully submitted,

SPIRE LAW, LLC

2572 W. State Road 426, Suite 2088
Oviedo, Florida 32765

By: /s/Jan E. Smith
Ian E. Smith, Esq.
Georgia Bar No. 661492
ian@spirelawfirm.com
sarah@spirelawfirm.com
filings@spirelawfirm.com
Attorney for Defendant

www.spirelawfirm.com
Employment Attorneys

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CERTIFICATE OF SERVICE

I hereby certify that on this 10th day of February, 2025, I served the foregoing
upon counsel for Plaintiff via email:

Beverly Lucas, Esq.

LUCAS & LEON, LLC

Post Office Box 752

Clarkesville, Georgia 30523

706-754-2001

beverly@lucasandleon.com
/s/ Ian E. Smith
Attorney

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INTERROGATORIES

1. State all names by which you go by or have gone by at any time.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD

object to these Interrogatories because, to the best of undersigned counsel’s belief,
neither entity exists in any form and has no officer or agent who can verify its
responses, as required by Fed. R. Civ. P. 33(b)(1)(B). Moreover, Defendants object
to the extent the Interrogatory is propounded on any entity or individual other than
Provista Diagnostics, Inc. or Todos Medical LTD.

2. List the addresses where you reside or live temporarily, all telephone
numbers that you use at any time and the carrier, and all email addresses that you
use or have used at any time over the last 10 years.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD

object to these Interrogatories because, to the best of undersigned counsel’s belief,
neither entity exists in any form and has no officer or agent who can verify its
responses, as required by Fed. R. Civ. P. 33(b)(1)(B). Moreover, Defendants object
to the extent the Interrogatory is propounded on any entity or individual other than
Provista Diagnostics, Inc. or Todos Medical LTD.

3. Describe and state the location of each piece of real estate in which you

own any interest.

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RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Interrogatories because, to the best of undersigned counsel’s belief,
neither entity exists in any form and has no officer or agent who can verify its
responses, as required by Fed. R. Civ. P. 33(b)(1)(B). Moreover, Defendants object
to the extent the Interrogatory is propounded on any entity or individual other than
Provista Diagnostics, Inc. or Todos Medical LTD.

4. List the year, make, model and tag number of all vehicles that you own
or drive and to whom you are making payments if any.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD

object to these Interrogatories because, to the best of undersigned counsel’s belief,
neither entity exists in any form and has no officer or agent who can verify its
responses, as required by Fed. R. Civ. P. 33(b)(1)(B). Moreover, Defendants object
to the extent the Interrogatory is propounded on any entity or individual other than
Provista Diagnostics, Inc. or Todos Medical LTD.

a List the names, addresses, phone numbers, and description of the nature
of any business venture in which you own any interest and the year the interest was
acquired, the date when the interest was disposed of and to whom and the method
by which such disposal occurred.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD

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object to these Interrogatories because, to the best of undersigned counsel’s belief,
neither entity exists in any form and has no officer or agent who can verify its
responses, as required by Fed. R. Civ. P. 33(b)(1)(B). Moreover, Defendants object
to the extent the Interrogatory is propounded on any entity or individual other than
Provista Diagnostics, Inc. or Todos Medical LTD.

6. State the full name, address and telephone number of all your
employers or businesses during 2019-2025 and state the nature and name of your
present employment.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Interrogatories because, to the best of undersigned counsel’s belief,
neither entity exists in any form and has no officer or agent who can verify its
responses, as required by Fed. R. Civ. P. 33(b)(1)(B). Moreover, Defendants object
to the extent the Interrogatory is propounded on any entity or individual other than
Provista Diagnostics, Inc. or Todos Medical LTD.

ou Identify each person or entity for whom you performed services during
2019-2025 and state the amount you were paid for the services or the amount you
are owed for the services.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD

object to these Interrogatories because, to the best of undersigned counsel’s belief,

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neither entity exists in any form and has no officer or agent who can verify its
responses, as required by Fed. R. Civ. P. 33(b)(1)(B). Moreover, Defendants object
to the extent the Interrogatory is propounded on any entity or individual other than
Provista Diagnostics, Inc. or Todos Medical LTD.

8. Do you have any interest in any other corporation, company,
partnership, or trust? If so, state the nature of the interest, name and address of each
such corporation, company, partnership, or trust, and include the names, addresses
and telephone numbers of all shareholders, partners, settlors, trust protectors,
trustees, and beneficiaries.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Interrogatories because, to the best of undersigned counsel’s belief,
neither entity exists in any form and has no officer or agent who can verify its
responses, as required by Fed. R. Civ. P. 33(b)(1)(B). Moreover, Defendants object
to the extent the Interrogatory is propounded on any entity or individual other than
Provista Diagnostics, Inc. or Todos Medical LTD. .

9. Please list each bank account, including but not limited to, each
checking account, savings account, certificates of deposit, safety deposit box that

Provista, TODOS, Gerald Commissiong, Daniel Hirsch held in 2022-2024; the

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name(s) listed on the accounts, the name and address of each bank where the account
was/is held; the account number of each.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Interrogatories because, to the best of undersigned counsel’s belief,
neither entity exists in any form and has no officer or agent who can verify its
responses, as required by Fed. R. Civ. P. 33(b)(1)(B). Moreover, Defendants object
to the extent the Interrogatory is propounded on any entity or individual other than
Provista Diagnostics, Inc. or Todos Medical LTD.

10. List every entity that owes/owed money from 2022 through 2024 to
TODOS, Provista, Gerald Commissiong or Daniel Hirsch; the amount of the debt;
contact information for each debtor.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Interrogatories because, to the best of undersigned counsel’s belief,
neither entity exists in any form and has no officer or agent who can verify its
responses, as required by Fed. R. Civ. P. 33(b)(1)(B). Moreover, Defendants object
to the extent the Interrogatory is propounded on any entity or individual other than

Provista Diagnostics, Inc. or Todos Medical LTD.

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11. List each entity/individual to whom TODOS, Provista, Gerald
Commissiong or Daniel Hirsch owes money/stock/other renumeration; the amount
of the debt; contact information for each creditor.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Interrogatories because, to the best of undersigned counsel’s belief,
neither entity exists in any form and has no officer or agent who can verify its
responses, as required by Fed. R. Civ. P. 33(b)(1)(B). Moreover, Defendants object
to the extent the Interrogatory is propounded on any entity or individual other than
Provista Diagnostics, Inc. or Todos Medical LTD.

12. List the federal and state tax identification numbers (including the DOL
identification number) and the social security numbers for Gerald Commissiong and
Daniel Hirsch.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Interrogatories because, to the best of undersigned counsel’s belief,
neither entity exists in any form and has no officer or agent who can verify its
responses, as required by Fed. R. Civ. P. 33(b)(1)(B). Moreover, Defendants object
to the extent the Interrogatory is propounded on any entity or individual other than

Provista Diagnostics, Inc. or Todos Medical LTD.

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13. List each entity and each individual having any type of direct or indirect
ownership interest in TODOS Medical, Provista Diagnostics, and TOLLO Health,
the nature of the interest, the date that the interest was acquired, the current status of
the interest.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Interrogatories because, to the best of undersigned counsel’s belief,
neither entity exists in any form and has no officer or agent who can verify its
responses, as required by Fed. R. Civ. P. 33(b)(1)(B). Moreover, Defendants object
to the extent the Interrogatory is propounded on any entity or individual other than
Provista Diagnostics, Inc. or Todos Medical LTD.

14. List and give the location of all items of personal property owned by
you that have a value of more than $100.00.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Interrogatories because, to the best of undersigned counsel’s belief,
neither entity exists in any form and has no officer or agent who can verify its
responses, as required by Fed. R. Civ. P. 33(b)(1)(B). Moreover, Defendants object
to the extent the Interrogatory is propounded on any entity or individual other than

Provista Diagnostics, Inc. or Todos Medical LTD.

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15. List the names, account numbers, addresses, and phone numbers of al]
persons to whom you owe money. (List all creditors)

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Interrogatories because, to the best of undersigned counsel’s belief,
neither entity exists in any form and has no officer or agent who can verify its
responses, as required by Fed. R. Civ. P. 33(b)(1)(B). Moreover, Defendants object
to the extent the Interrogatory is propounded on any entity or individual other than
Provista Diagnostics, Inc. or Todos Medical LTD.

16. State the current legal name for the entity advertised as TOLLO Health,
its company structure, the state(s) in which the company is registered to do business,
and the year the registration occurred.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Interrogatories because, to the best of undersigned counsel’s belief,
neither entity exists in any form and has no officer or agent who can verify its
responses, as required by Fed. R. Civ. P. 33(b)(1)(B). Moreover, Defendants object
to the extent the Interrogatory is propounded on any entity or individual other than
Provista Diagnostics, Inc. or Todos Medical LTD.

17. State the historical ownership of the technology behind the active

ingredients/technology behind the substance, Tollovid.

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RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Interrogatories because, to the best of undersigned counsel’s belief,
neither entity exists in any form and has no officer or agent who can verify its
responses, as required by Fed. R. Civ. P. 33(b)(1)(B). Moreover, Defendants object
to the extent the Interrogatory is propounded on any entity or individual other than
Provista Diagnostics, Inc. or Todos Medical LTD.

18. Explain how TOLLO Health has acquired the active
ingredients/technology behind Tollovid.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Interrogatories because, to the best of undersigned counsel’s belief,
neither entity exists in any form and has no officer or agent who can verify its
responses, as required by Fed. R. Civ. P. 33(b)(1)(B). Moreover, Defendants object
to the extent the Interrogatory is propounded on any entity or individual other than

Provista Diagnostics, Inc. or Todos Medical LTD.

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VERIFICATION OF DEFENDANT’S REPONSES TO PLAINTIFE’S FIRST
SET OF INTERROGATORIES

I declare under penalty of perjury under the laws of the United States of
America that the foregoing Answers to Interrogatories are true and correct to
the best of my knowledge.

N/A

(Signature of Person Answering Interrogatories)

(Print Name)
(Date)
As to objections:
/s/_ Ian E. Smith
Tan E. Smith
Georgia Bar No. 661492
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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
~CHARNAE JONES -
Plaintiff, CIVIL ACTION NO.
= 1:22-CV-05134-MLB

PROVISTA DIAGNOSTICS, INC.,

and TODOS MEDICAL, LTD,
JURY TRIAL DEMANDED
Defendants.

DEFENDANTS’ RESPONSES AND OBJECTIONS TO
PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS

Defendants, Provista Diagnostics, Inc., and Todos Medical, LTD
(“Defendants”), by and through the undersigned counsel, and pursuant to Fed. R.
Civ. P. 36, hereby respond to Plaintiff Charnae Jones’ First Request for Admission

to Defendants submits the following in response:

RESPONSES TO PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS

1. Admit that Gerald Commissiong held the position of Chief Executive

Officer of TODOS Medical, LTD.
Response: Defendants Provista Diagnostics Inc. and Todos Medical LTD

are, to the best of undersigned counsel’s knowledge and belief, no longer in
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business or exist in any form. Accordingly, this Response is the product of
information either (1) found in counsel’s records obtained prior to March or
April 2024 when counsel lost contact with Defendants or (2) obtained
through public sources. Moreover, Defendants object to the extent this
request is propounded on entities or individuals other than Provista
Diagnostics, Inc. or Todos Medical LTD. Subject to the foregoing,
Defendants admit this Request.

2. Admit that Daniel Hirsch held the position of Chief Financial Officer of
Todos Medical, LTD in the year 2022.
Response:

Defendants Provista Diagnostics Inc. and Todos Medical LTD are, to
the best of undersigned counsel’s knowledge and belief, no longer in business
or exist in any form. Accordingly, this Response is the product of information
either (1) found in counsel’s records obtained prior to March or April 2024
when counsel lost contact with Defendants or (2) obtained through public
sources. Moreover, Defendants object to the extent this request 1s propounded
on entities or individuals other than Provista Diagnostics, Inc. or Todos
Medical LTD. Subject to the foregoing, Defendants admit that Daniel Hirsch

held the position of Chief Financial Officer of Todos Medical LTD.
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3. Admit that Gerald Commissiong directed payments to be made during 2022-
2023.
Response: Defendants Provista Diagnostics Inc. and Todos Medical LTD are
no longer and, to the best of undersigned counsel’s knowledge and belief, are
no longer in business or exist in any form. Accordingly, this Response is the
product of information either (1) found in counsel’s records obtained prior to
March or April 2024 when counsel lost contact with Defendants or (2)
obtained through public sources. Moreover, Defendants object to the extent
this request is propounded on entities or individuals other than Provista
Diagnostics, Inc. or Todos Medical LTD. Finally, Defendants object to the
the expression “directed payments” as vague and ambiguous. Subject to the
foregoing, and pursuant to Fed. R. Civ. P. 36(a)(4), Defendants lack sufficient
information to admit or deny this Request.

4, Admit that Gerald Commissiong directed for certain payments to not be
made during 2022-2023.
Response: Defendants Provista Diagnostics Inc. and Todos Medical LTD
are, to the best of undersigned counsel’s knowledge and belief, no longer in

business or exist in any form. Accordingly, this Response is the product of

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information either (1) found in counsel’s records obtained prior to March or
April 2024 when counsel lost contact with Defendants or (2) obtained
through public sources. Moreover, Defendants object to the extent this
request is propounded on entities or individuals other than Provista
Diagnostics, Inc. or Todos Medical LTD. Subject to the foregoing, and
pursuant to Fed. R. Civ. P. 36(a)(4), Defendants lack sufficient information
to admit or deny this Request.

5. Admit that Gerald Commissiong directed that payment of wages were not to
be made to Plaintiff for any period in 2022-2023.
Response: Defendants Provista Diagnostics Inc. and Todos Medical LTD
are, to the best of undersigned counsel’s knowledge and belief, no longer in
business or exist in any form. Accordingly, this Response is the product of
information either (1) found in counsel’s records obtained prior to March or
April 2024 when counsel lost contact with Defendants or (2) obtained through
public sources. Moreover, Defendants object to the extent this request is
propounded on entities or individuals other than Provista Diagnostics, Inc. or
Todos Medical LTD. Subject to the foregoing, and pursuant to Fed. R. Civ.
P. 36(a)(4), Defendants lack sufficient information to admit or deny this

Request.

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6. Admit that Gerald Commissiong has refused to communicate with counsel
in this case during the years of 2023-2024.
Response: Defendants Provista Diagnostics Inc. and Todos Medical LTD
are, to the best of undersigned counsel’s knowledge and belief, no longer in
business or exist in any form. Accordingly, this Response is the product of
information either (1) found in counsel’s records obtained prior to March or
April 2024 when counsel lost contact with Defendants or (2) obtained through
public sources. Moreover, Defendants object to the extent this request is
propounded on entities or individuals other than Provista Diagnostics, Inc. or
Todos Medical LTD. Finally, Defendants object to this Request as vague and
ambiguous because it is not clear by “Gerald Commissiong has refused to
communicate with counsel.” Subject to the foregoing, Defendants lack
sufficient information to admit or deny whether Commissiong has refused to
communicate with counsel at some point during the years of 2023 and 2024.
In further response, Defendants admit that there were periods of time in which
counsel has been unable to contact Gerald Commissiong.

7. Admit that Gerald Commissiong possessed or currently possesses ownership

directly or indirectly in TODOS Medical, LTD.

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Response: Defendants Provista Diagnostics Inc. and Todos Medical LTD
are, to the best of undersigned counsel’s knowledge and belief, no longer in
business or exist in any form. Accordingly, this Response is the product of
information either (1) found in counsel’s records obtained prior to March or
April 2024 when counsel lost contact with Defendants or (2) obtained through
public sources. Moreover, Defendants object to the extent this request is
propounded on entities or individuals other than Provista Diagnostics, Inc. or
Todos Medical LTD. Subject to the foregoing, Defendants admit that Gerald
Commissiong, at some point, owned shares in Todos Medical LTD.

8. Admit that Gerald Commissiong possessed or currently possesses ownership
directly or indirectly in Provista Medical, Inc.
Response: Defendants Provista Diagnostics Inc. and Todos Medical LTD
are, to the best of undersigned counsel’s knowledge and belief, no longer in
business or exist in any form. Accordingly, this Response is the product of
information either (1) found in counsel’s records obtained prior to March or
April 2024 when counsel lost contact with Defendants or (2) obtained
through public sources. Moreover, Defendants object to the extent this
request is propounded on entities or individuals other than Provista

Diagnostics, Inc. or Todos Medical LTD. Subject to the foregoing, and
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pursuant to Fed. R. Civ. P. 36(a)(4), Defendants lack sufficient information
to admit or deny this Request.

9, Admit that Tollovid was a product sold by Defendant TODOS.
Response: Defendants Provista Diagnostics Inc. and Todos Medical LTD
are, to the best of undersigned counsel’s knowledge and belief, no longer in
business or exist in any form. Accordingly, this Response is the product of
information either (1) found in counsel’s records obtained prior to March or
April 2024 when counsel lost contact with Defendants or (2) obtained through
public sources. Moreover, Defendants object to the extent this request is
propounded on entities or individuals other than Provista Diagnostics, Inc. or
Todos Medical LTD. Subject to the foregoing, Defendants admits this
Request.

10. Admit that the same technology/formula used in Tollovid is currently being
used in the new company TOLLO Medical.
Response: Defendants Provista Diagnostics Inc. and Todos Medical LTD
are, to the best of undersigned counsel’s knowledge and belief, no longer in
business or exist in any form. Accordingly, this Response is the product of
information either (1) found in counsel’s records obtained prior to March or

April 2024 when counsel lost contact with Defendants or (2) obtained through
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public sources. Moreover, Defendants object to the extent this request is
propounded on entities or individuals other than Provista Diagnostics, Inc. or
Todos Medical LTD. Subject to the foregoing, and pursuant to Fed. R. Civ.
P. 36(a)(4), Defendants lack sufficient information to admit or deny this
Request.

11.Admit that Gerald Commissiong has some degree of ownership directly or
indirectly in the new company, TOLLO Medical.
Response: Defendants Provista Diagnostics Inc. and Todos Medical LTD
are, to the best of undersigned counsel’s knowledge and belief, no longer in
business or exist in any form. Accordingly, this Response is the product of
information either (1) found in counsel’s records obtained prior to March or
April 2024 when counsel lost contact with Defendants or (2) obtained through
public sources. Moreover, Defendants object to the extent this request is
propounded on entities or individuals other than Provista Diagnostics, Inc. or
Todos Medical LTD. Subject to the foregoing, and pursuant to Fed. R. Civ.
P. 36(a)(4), Defendants lack sufficient information to admit or deny this
Request.

12.Admit that Gerald Commissiong has/had some degree of control directly or

indirectly in the new company, TOLLO Medical.
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Response: Defendants Provista Diagnostics Inc. and Todos Medical LTD
are, to the best of undersigned counsel’s knowledge and belief, no longer in
business or exist in any form. Accordingly, this Response is the product of
information either (1) found in counsel’s records obtained prior to March or
April 2024 when counsel lost contact with Defendants or (2) obtained through
public sources. Moreover, Defendants object to the extent this request is
propounded on entities or individuals other than Provista Diagnostics, Inc. or
Todos Medical LTD. Subject to the foregoing, and pursuant to Fed. R. Civ.
P. 36(a)(4), Defendants lack sufficient information to admit or deny this

Request.

Dated this 10th day of February, 2025.

Respectfully submitted,

SPIRE LAW, LLC

2572 W. State Road 426, Suite 2088
Oviedo, Florida 32765

By:  /s/ Jan E. Smith
Tan E. Smith, Esq.
Georgia Bar No. 661492
ian@spirelawfirm.com
sarah@spirelawfirm.com
filings@spirelawfirm.com
Attorney for Defendants

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CERTIFICATE OF SERVICE

I hereby certify that on this 10th day of February, 2025, I served electronically,
the foregoing upon counsel for Plaintiff:

Beverly Lucas, Esq.

LUCAS & LEON, LLC

Post Office Box 752

Clarkesville, Georgia 30523

706-754-2001

beverly@lucasandleon.com
Tan E. Smith
Attorney

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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION

~CHARNAE JONES |
Plaintiff, CIVIL ACTION NO.
7 1:22-CV-05134-MLB

PROVISTA DIAGNOSTICS, INC.,

and TODOS MEDICAL, LTD,
JURY TRIAL DEMANDED

Defendants.

JUDGMENT DEBTOR RESPONSES AND OBJECTIONS TO
REQUEST FOR PRODUCTION OF DOCUMENTS

Defendants, Provista Diagnostics, Inc., and Todos Medical, LTD.,
(“Defendants”), by and through its undersigned counsel, and pursuant to Fed. R. Civ.
P. 34, hereby respond to the Request for Production. Defendants will produce
responsive documents referenced below at a mutually agreeable time within 21 days
after the date of their written responses and objections.

Dated this 10th day of February, 2025.

Respectfully submitted,
SPIRE LAW, LLC

2572 W. State Road 426, Suite 2088
Oviedo, Florida 32765

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Employment Attorneys
Case 1:22-cv-05134-MLB Document 47-4 Filed 06/24/25 Page 25 of 35

By:  /s/ Jan E. Smith
Ian E. Smith, Esq.
Georgia Bar No. 661492
ian(@spirelawfirm.com
sarah@spirelawfirm.com
filings@spirelawfirm.com
Attorney for Defendants

CERTIFICATE OF SERVICE

I hereby certify that on this 10th day of February, 2025, I served the foregoing
upon counsel for Plaintiff via email:

Beverly Lucas, Esq.

LUCAS & LEON, LLC

Post Office Box 752

Clarkesville, Georgia 30523

706-754-2001

beverly@lucasandleon.com
/s/ Jan E. Smith
Attorney

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RESPONSES TO PLAINTIFF’S FIRST REQUEST FOR PRODUCTION

1. Provide all documents filed with SEC regarding TODOS Medical, LTD,
Provista Medical, Inc., TOLLO Health, and any companies that have merged
with these companies or given/transferred as payment for shares in either of

these companies.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Requests because, to the best of undersigned counsel’s
knowledge and belief, neither entity exists in any form and has no officer,
agent, or custodian of record who can provide responsive documents, if any.
Moreover, Defendants object to the extent the Request is propounded on any
entity or individual other than Provista Diagnostics, Inc. or Todos Medical
LTD. Subject to and without waiving the foregoing objections, Defendants
will conduct a search of records within their counsel’s files and will produce

non-privileged documents, which may be responsive to this Request.

2. Provide all documents filed as tax returns, and any documents filed to any
and all state or federal entities by you including but not limited to
Department of Labor, Georgia Secretary of State, Department of Health,

U.S. Patent Office, and The Food and Drug Administration.
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RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Requests because, to the best of undersigned counsel’s
knowledge and belief, neither entity exists in any form and has no officer,
agent, or custodian of record who can provide responsive documents, if any.
Moreover, Defendants object to the extent the Request is propounded on any
entity or individual other than Provista Diagnostics, Inc. or Todos Medical
LTD. Subject to and without waiving the foregoing objections, Defendants
will conduct a search of records within their counsel’s files and will produce

non-privileged documents, which may be responsive to this Request.

3. Provide all documents filed in support of any liquidation actions of TODOS
Medical, LTD/Provista Diagnostics, Inc. made in any court in Isreal or in the

United States of America, complete with a certified translation to English.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Requests because, to the best of undersigned counsel’s
knowledge and belief, neither entity exists in any form and has no officer,
agent, or custodian of record who can provide responsive documents, if any.
Moreover, Defendants object to the extent the Request is propounded on any
entity or individual other than Provista Diagnostics, Inc. or Todos Medical

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LTD. Subject to and without waiving the foregoing objections, Defendants
will conduct a search of records within their counsel’s files and will produce

non-privileged documents, which may be responsive to this Request.

4. Provide all documents concerning TODOs Medical, Provista Diagnostics or
any company having ownership, directly or indirectly of same, filed to any
governmental department or any judicial entity in Isreal or the United States

of America complete with certified translation to English.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Requests because, to the best of undersigned counsel’s
knowledge and belief, neither entity exists in any form and has no officer,
agent, or custodian of record who can provide responsive documents, if any.
Moreover, Defendants object to the extent the Request is propounded on any
entity or individual other than Provista Diagnostics, Inc. or Todos Medical
LTD. Subject to and without waiving the foregoing objections, Defendants
will conduct a search of records within their counsel’s files and will produce

non-privileged documents, which may be responsive to this Request.

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5. Provide all bank statements including all transactions made to and from
TODOS Medical, LTD, Provista Medical, Inc., personal accounts of Gerald

Commissiong (CEO) and Daniel Hirsch (CFO).

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Requests because, to the best of undersigned counsel’s
knowledge and belief, neither entity exists in any form and has no officer,
agent, or custodian of record who can provide responsive documents, if any.
Moreover, Defendants object to the extent the Request is propounded on any
entity or individual other than Provista Diagnostics, Inc. or Todos Medical
LTD. Subject to and without waiving the foregoing objections, Defendants
will conduct a search of records within their counsel’s files and will produce

non-privileged documents, which may be responsive to this Request.

6. Provide all documents showing all funds in any form transferred to or from
TODOS Medical, LTD, Provista Diagnostics, Inc. or any company associated

with either to or from Gerald Commissiong and Daniel Hirsch.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Requests because, to the best of undersigned counsel’s
knowledge and belief, neither entity exists in any form and has no officer, agent,

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or custodian of record who can provide responsive documents, if any.
Moreover, Defendants object to the extent the Request is propounded on any
entity or individual other than Provista Diagnostics, Inc. or Todos Medical
LTD. Subject to and without waiving the foregoing objections, Defendants
will conduct a search of records within their counsel’s files and will produce

non-privileged documents, which may be responsive to this Request.

7. Provide any and all documents showing any payments or transfers of funds of
any kind to Spire Law, Ian Smith, Whitney Dupree or any other lawyer or law

firm during the years 2021-2024 by any method.

RESPONSE: Defendants Provista Diagnostics Inc. and Todos Medical LTD
object to these Requests because, to the best of undersigned counsel’s
knowledge and belief, neither entity exists in any form and has no officer, agent,
or custodian of record who can provide responsive documents, if any.
Moreover, Defendants object to the extent the Request is propounded on any
entity or individual other than Provista Diagnostics, Inc. or Todos Medical
LTD. Subject to and without waiving the foregoing objections, Defendants
will conduct a search of records within their counsel’s files and will produce
non-privileged documents, which may be responsive to this Request.

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
CHARNAE JONES, )
)
Plaintiff, ) CIVIL ACTION FILE NO.:
) 1:22-cv-05134-MLB
)
v. )
)
PROVISTA DIAGNOSTICS, INC., _ )
TODOS MEDICAL, LTD, )
)
Defendants. )

DEPOSITION NOTICE PURSUANT TO RULE 69 AND
THE COURT’S ORDER

TO: Provista Diagnostics, Inc., TODOS Medical, LTD., and
Gerald Commissiong
2264 Raleigh Road, Hummelstown, PA. 17036

YOU ARE HEREBY NOTIFIED that on the 28th day of February 2025
at 10:00 a.m. EST, counsel for Plaintiffs will proceed to take the deposition of a
representative(s) of Gerald Commissiong upon oral examination, and videotaped
pursuant to Rule 69 of the Federal Rules of Civil Procedure and by Order of the

Court. The deposition will be taken by remote teleconference and can be done in
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front of a computer at the physical location of The Hilton Garden Inn, 3943 TecPort
Drive, Harrisburg, PA. 17111.

The oral examination will be taken before a certified court reporter or other
officer duly authorized by law to administer oaths, recorded by stenographic means
and may be audio recorded or videotaped. The oath will be made outside the
presence of the deponent. This deposition will be taken upon oral examination for
the purpose of discovery, for use at trial, and for all purposes permitted under all
applicable laws and governing rules. The oral examination may continue from day

to day until its completion.

CERTIFICATE OF FONT COMPLIANCE REQUIRED BY LOCAL RULE
7.1D AND SERVICE

In accordance with Local Rule 7.1D, I hereby certify that the foregoing was
prepared with one of the font and point selections approved by the Court in Local
Rule 5.1B. Specifically, it was prepared with Times New Roman, 14 point.

I further certify that I electronically filed NOTICE OF RULE 69
DEPOSITION AND BY ORDER OF THE COURT with the Clerk of Court using
the CM/ECF system which will automatically send email or other notification of
such filing to the following attorneys of record:

Jan E. Smith and Whitney Dupree

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This 17th day of January 2024.

Spire Law, PLLC
2572 W. State Road 426 Suite 2088
Oviedo, Florida 32765

/s/ Beverly A. Lucas
Beverly A. Lucas
Georgia Bar No. 427692

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Outlook

RE: EXT: Re: Charnae Jones v. Provista Diagnostics et al., Post Judgment Responses to Discovery
Requests

From lan Smith <ian@spirelawfirm.com>
Date Wed 2/26/2025 3:55 PM
To Beverly Lucas <beverly@lucasandleon.com>

Cc Margarita Mercado Agrinzone <margarita@spirelawfirm.com>; Sarah Hander <sarah@spirelawfirm.com >

Beverly,

Written responses were served more than two weeks ago. If you did not receive written responses to Plaintiff's
requests, please let me know.

With respect to Mr. Commissiong, | neither represent him nor am | in any position to produce him in any way.

lan

Ian E. Smith, Esq. | Partner

~

\
SPIRE LAW

ian(@spirelawfirm.com | 212.335.0018
www.spirelawfirm.com
Offices in Atlanta and New York

From: Beverly Lucas <beverly@lucasandleon.com>

Sent: Wednesday, February 26, 2025 2:17 PM

To: lan Smith <ian@spirelawfirm.com>

Cc: Margarita Mercado Agrinzone <margarita@spirelawfirm.com>; Sarah Hander <sarah@spirelawfirm.com>
Subject: EXT: Re: Charnae Jones v. Provista Diagnostics et al., Post Judgment Responses to Discovery Requests

*** CAUTION: External sender. Use caution when clicking links or opening attachments. ***
lan:

| am in receipt of your non-answers to Rogs for Provista. Gerald was also subpoena’d to give a
deposition on Friday. Will you be producing him?

-Beverly

Beverly A. Lucas

Lucas & Leon, LLC
